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 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9                                           )Case No. CV 21-7172-JFW(Ex)
10   Ariel Armstrong,                        )
                                             )STANDING ORDER
11                   Plaintiff,              )
                                             )
12       v.                                  )
                                             )
13   Zenimax Media, Inc.,                    )
                                             )
14                   Defendants.             )

15    READ THIS ORDER CAREFULLY. IT CONTROLS THE CASE AND DIFFERS
16   IN SOME RESPECTS FROM THE LOCAL RULES.
17    This action has been assigned to the calendar of Judge John
18   F. Walter.   Both the Court and counsel1 bear responsibility
19   for the progress of litigation in Federal
20   Court.   To secure the just, speedy, and inexpensive
21   determination of every action, all counsel are ordered to
22   familiarize themselves with the Federal Rules of Civil
23   Procedure, the Local Rules of the Central District of
24   California, the General Orders of the Central District and
25   the Judge’s Procedures and Schedules found on the website
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28 other Any reference in the Court’s Standing Order (or any
          court order) to “counsel” or “attorney” applies to
   parties appearing pro se unless the context requires
   otherwise.
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 1   for the United States District Court for the Central District
 2   of California (www.cacd.uscourts.gov).
 3   1.   Service of the Complaint:
 4    The plaintiff shall promptly serve the Complaint in
 5   accordance with Fed.R.Civ.P. 4 and shall file the proof(s) of
 6   service pursuant to the Local Rules.          The plaintiff is hereby
 7   notified that failure to serve the Complaint as required by
 8   Fed.R.Civ.P. 4(m) will result in the dismissal of the
 9   Complaint against the unserved defendant(s).
10   2.   Presence of Lead Counsel:
11    Lead trial counsel shall attend all proceedings before this
12   Court and all Local Rule 7-3, scheduling, status, and
13   settlement conferences.       Only ONE attorney for a party may be
14   designated as lead trial counsel unless otherwise permitted
15   by the Court.
16   3.   Electronic Filing and Courtesy Copies:
17    (a) Within ten days of a party’s initial appearance, lead
18   trial counsel shall file a declaration entitled, “Declaration
19   of Lead Trial Counsel” which shall: (1) notify the Court that
20   counsel has registered as an “CM/ECF User;” (2) include lead
21   counsel’s “E-Mail Address of Record;” and (3) confirm that
22   lead counsel has read the Court’s Standing Order and the
23   Local Rules.
24    (b) All documents that are required to be filed in an
25   electronic format pursuant to the Local Rules shall be filed
26   electronically no later than 4:00 p.m. on the date due unless
27   otherwise ordered by the Court.          Any documents filed
28   electronically after 4:00 p.m. on the date due will be

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 1   considered late and may be stricken by the Court.              All
 2   documents filed electronically shall be filed in accordance
 3   with the Local Rule 5-4.       Each PDF file shall contain no more
 4   than one document or exhibit, see Local Rule 5-4.3.1, and
 5   each document or exhibit shall be meaningfully described on
 6   the docket such that the document or exhibit can be easily
 7   identified.    For example, if a declaration in support of a
 8   motion appears as Docket No. 30, exhibit 1 to the declaration
 9   should be filed as Docket No. 30-1 with a description of the
10   exhibit that includes the title of the exhibit and the
11   exhibit number (e.g., Exhibit 1: Letter from John Doe to Jane
12   Doe dated January 1, 2021).        Exhibit 2 to the declaration
13   should be filed as Docket No. 30-2 with a description of the
14   exhibit which includes the title of the exhibit and exhibit
15   number (Exhibit 2: Letter from Jane Doe to John Doe dated
16   January 2, 2021), and so on.        Any documents which counsel
17   attempt to file electronically which are improperly filed
18   will not be accepted by the Court.
19    (c) Counsel are ORDERED to deliver 2 copies of all documents
20   filed electronically in this action to Chambers.              For each
21   document filed electronically, one copy shall be marked
22   “CHAMBERS COPY” and the other copy shall be marked “COURTESY
23   COPY.”    The “CHAMBERS COPY” and “COURTESY COPY” are
24   collectively referred to herein as “Courtesy Copies.” The
25   Courtesy Copies of each electronically filed document must
26   include on each page the running header created by the ECF
27   system.   In addition, on the first page of each Courtesy
28   Copy, in the space between lines 1 - 7 to the right of the

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 1   center, counsel shall include the date the document was
 2   e-filed and the document number. The Courtesy Copies shall be
 3   single-sided and shall not be blue-backed. All documents must
 4   be stapled only in the top left-hand corner, the electronic
 5   proof of service must be attached as the last page of each
 6   document, and the exhibits attached to any document must be
 7   tabbed.     Counsel shall not staple the “COURTESY COPY” and
 8   “CHAMBERS COPY” together. The “COURTESY COPY” and “CHAMBERS
 9   COPY” of all documents must be three-hole punched at the left
10   margin with oversized 13/32" hole size, not the standard
11   9/32" hole size.     If evidence attached to a document exceeds
12   twenty-five pages, the Courtesy Copies of the evidence shall
13   be placed in separately bound volumes and include a Table of
14   Contents.     If such evidence exceeds fifty pages, the Courtesy
15   Copies of such evidence shall be placed in a slant D-ring
16   binder with each item of evidence separated by a tab divider
17   on the right side. All documents contained in the binder must
18   be three hole punched with the oversized 13/32” hole size,
19   not the standard 9/32” hole size.          The binder shall include a
20   Table of Contents and the spine of the binder shall be
21   labeled with its contents.
22    The Courtesy Copies shall be delivered to Chambers no later
23   than 10:00 a.m. on the next business day after the document
24   was electronically filed.
25    (d) For any document that is not required to be filed
26   electronically, counsel are ORDERED to deliver 1 conformed
27   copy of the document, which shall be marked “COURTESY COPY,”
28   to Chambers at the time of filing. For any document or

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 1   exhibit that is not required to be filed electronically,
 2   counsel shall retain a copy of that document or exhibit until
 3   all appeals have been exhausted.
 4    (e)   If the Court has granted an application to file
 5   documents under seal, the Court’s Courtesy Copies shall
 6   include a complete version of the documents including any
 7   sealed documents. Each document that has been filed under
 8   seal shall include a notation identifying that the document
 9   has been filed under seal, and shall be highlighted to show
10   the portion of the document that has been redacted. For
11   example, if the Court orders Ex. A to a Declaration filed
12   under seal, the Court’s Courtesy Copies of the Declaration
13   should include Ex. A as an attachment with a notation that it
14   has been filed under seal pursuant to the Court’s order and
15   any redactions shall be highlighted.
16    (f)      In the unlikely event counsel finds it necessary to
17   file a Notice of Errata: (1) the Notice of Errata shall
18   specifically identify each error by page and line number and
19   set forth the correction; and (2) a corrected version of the
20   document in its entirety shall be attached to the Notice of
21   Errata.
22    (g) When a proposed order or other proposed document
23   accompanies an electronic filing, the proposed order or other
24   proposed document shall be in PDF format and included, as an
25   attachment, with the main electronically filed document
26   (e.g., stipulations, applications, motions).            Proposed orders
27   or other proposed documents (such as a proposed judgment)
28   that are not lodged with a main document shall be

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 1   electronically lodged as an attachment to a Notice of
 2   Lodging; if the proposed document is being submitted in
 3   response to a court order, the filer shall link the Notice of
 4   Lodging to that court order.
 5    After a document requiring a judge’s signature has been
 6   lodged, a WordPerfect or Microsoft Word copy of the proposed
 7   document, along with a PDF copy of the electronically filed
 8   main document, MUST be emailed to the chambers email address,
 9   EITHER by using the “Proposed Orders” link within the CM/ECF
10   System OR by sending a separate email with the subject line
11   in the following format: Court’s divisional office, year,
12   case type, case number, document control number assigned to
13   the main document at the time of filing, judge’s initials,
14   and filer (party) type and name (e.g., for Los Angeles:
15   LA08CV00123-6-ABC-Defendant). Do not submit the proposed
16   order twice. Failure to comply with this requirement may
17   result in the denial or striking of the request or the Court
18   may withhold ruling on the request until the Court receives
19   the required documents.
20   4.   Discovery:
21    (a) All discovery matters have been referred to a United
22   States Magistrate Judge.       (The Magistrate Judge’s initials
23   follow the Judge’s initials next to the case number.)               All
24   discovery documents must include the words “DISCOVERY MATTER”
25   in the caption to ensure proper routing.           Counsel are
26   directed to contact the Magistrate Judge’s Courtroom Deputy
27   to schedule matters for hearing.
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 1    All decisions of the Magistrate Judge shall be final,
 2   subject to modification by the District Court only where it
 3   is shown that the Magistrate Judge’s Order is clearly
 4   erroneous or contrary to law.         Any party may file and serve a
 5   motion for review and reconsideration before this Court.                   The
 6   moving party must file and serve the motion within fourteen
 7   calendar days of service of a written ruling or within
 8   fourteen calendar days of an oral ruling that the Magistrate
 9   Judge states will not be followed by a written ruling.                The
10   motion must specify which portions of the ruling are clearly
11   erroneous or contrary to law and support the contention with
12   a memorandum of points and authorities.            Counsel shall
13   deliver a courtesy copy of the moving papers and responses to
14   the Magistrate Judge.
15    (b) Counsel shall begin to actively conduct discovery before
16   the Fed.R.Civ.P. 26(f) conference because at the Scheduling
17   Conference the Court will impose tight deadlines to complete
18   discovery.    If the action is a putative class action, the
19   parties shall begin to conduct discovery immediately, so that
20   the Motion for Class Certification can be timely filed.
21   5.   Motions:
22    (a) Time for Filing and Hearing Motions:
23    Motions shall be filed in accordance with the Local Rules.
24   This Court hears motions on Mondays commencing at 1:30 p.m.
25   Once a party has noticed a motion for hearing on a particular
26   date, the hearing shall not be continued without leave of
27   Court.   No supplemental briefs shall be filed without leave
28   of Court.    Courtesy Copies shall be provided to the Court in

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 1   accordance with paragraph 3 of this Order.            No motion shall
 2   be noticed for hearing for more than 35 calendar days after
 3   service of the motion unless otherwise ordered by the Court.
 4   Documents not filed in compliance with the Court’s
 5   requirements will be stricken and will not be considered by
 6   the Court.
 7    (b) Local Rule 7-3:
 8    Among other things, Local Rule 7-3 requires counsel to
 9   engage in a pre-filing conference to discuss thoroughly the
10   substance of the contemplated motion and any potential
11   resolution.    Counsel should discuss the issues with
12   sufficient detail so that if a motion is still necessary, the
13   briefing may be directed to those substantive issues
14   requiring resolution by the Court.
15    Many motions to dismiss or to strike could be avoided if the
16   parties confer in good faith especially for perceived defects
17   in a Complaint, Answer, or Counterclaim which could be
18   corrected by amendment.       See, e.g., Eminence Capital, LLC v.
19   Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)(where a
20   motion to dismiss is granted, a district court should provide
21   leave to amend unless it is clear that the Complaint could
22   not be saved by any amendment).          The Ninth Circuit requires
23   that this policy favoring amendment be applied with “extreme
24   liberality.”    Morongo Band of Mission Indians v. Rose, 893
25   F.2d 1074, 1079 (9th Cir. 1990).
26    These principles require counsel for the plaintiff to
27   carefully evaluate the defendant’s contentions as to the
28   deficiencies in the Complaint, and in most instances, the

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 1   moving party should agree to any amendment that would cure a
 2   curable defect.     Counsel should, at the very least, resolve
 3   minor procedural or other non-substantive matters during the
 4   conference.
 5    All 7-3 conferences shall be conducted in person by lead
 6   counsel.   If lead counsel are not located in the same county
 7   in the Central District of California, the conference may
 8   take place via video (letters and e-mail do not constitute a
 9   proper 7-3 conference).       The pro se status of one or more
10   parties does not excuse compliance with Local Rule 7-3.
11    Notwithstanding the exemption for preliminary injunction
12   motions in Local Rule 7-3, counsel contemplating filing a
13   preliminary injunction motion shall comply with Local Rule 7-
14   3 and meet and confer in person at least five days prior to
15   the filing of such a motion.
16    Not more than three days after the 7-3 conference for any
17   contemplated motion, counsel shall file a joint statement
18   indicating the date of, duration of, and method of
19   communication used during the conference and the participants
20   in the conference.      In addition, the joint statement shall
21   detail the issues discussed and resolved during the
22   conference and the issues remaining.           Failure to strictly
23   comply with the Court’s requirements or Local Rule 7-3 will
24   result in the striking and/or the denial of the motion.
25    (c) Length and Format of Motion Papers:
26    Memoranda of Points and Authorities in support of or in
27   opposition to motions shall not exceed 25 pages.              Replies
28   shall not exceed 12 pages.        Only in rare instances and for

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 1   good cause shown will the Court grant an application to
 2   extend these page limitations.            Courtesy Copies of all
 3   evidence in support of or in opposition to a motion,
 4   including declarations and exhibits to declarations, shall be
 5   separated by a tab divider on the bottom of the page.                If
 6   evidence in support of or in opposition to a motion exceeds
 7   twenty-five pages, the Courtesy Copies of the evidence shall
 8   be placed in separately bound volumes and include a Table of
 9   Contents.    If such evidence exceeds fifty pages, the Courtesy
10   Copies of such evidence shall be placed in a slant D-ring
11   binder with each item of evidence separated by a tab divider
12   on the right side.      All documents contained in the binder
13   must be three hole punched with the oversized 13/32” hole
14   size, not the standard 9/32” hole size.            The binder shall
15   include a Table of Contents and the spine of the binder shall
16   be labeled with its contents.
17    Typeface shall comply with the Local Rules. NOTE: If Times
18   Roman is used, the font size must be no less than 14; if
19   Courier is used, the font size must be no less than 12.
20   Footnotes shall be in the same typeface and font size as the
21   text and shall be used sparingly.
22    Documents which do not conform to the Local Rules and this
23   Order will not be considered.
24    (d) Citations to Case Law:
25    Citations to case law must identify not only the case being
26   cited, but the specific page referenced. In the event it is
27   necessary to cite to Westlaw or Lexis, the Court prefers that
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 1   counsel cite to Westlaw.        Hyperlinks to case citations must
 2   be included.
 3    (e) Citations to Other Sources:
 4    Statutory references should identify, with specificity,
 5   which sections and subsections are being referenced (e.g.,
 6   Jurisdiction over this claim for relief may appropriately be
 7   found in 47 U.S.C. § 33, which grants the district courts
 8   jurisdiction over all offenses of the Submarine Cable Act,
 9   whether the infraction occurred within the territorial waters
10   of the United States or on board a vessel of the United
11   States outside said waters).         Statutory references which do
12   not specifically indicate the appropriate section and
13   subsection (e.g., Plaintiffs allege conduct in violation of
14   the Federal Electronic Communication Privacy Act, 18 U.S.C. §
15   2511, et seq.) are to be avoided.          Citations to treatises,
16   manuals, and other materials should similarly include the
17   volume and the section referenced.
18    (f)       Proposed Statement of Decision
19    Not more than two days after the deadline for filing the
20   Reply, each party shall lodge a Proposed Statement of
21   Decision, which shall contain a statement of the relevant
22   facts and applicable law with citations to case law and the
23   record.    The Proposed Statement of Decision shall not exceed
24   fifteen pages and shall be in a form that would be
25   appropriate for the Court to enter as its final order on the
26   motion.    The Proposed Statement of Decision shall be
27   submitted to the Court in accordance with the Local Rules and
28   shall be e-mailed in WordPerfect or Word format to the

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 1   Chambers’ e-mail address (JFW_Chambers@cacd.uscourts.gov) at
 2   the time of filing. Failure to lodge the Proposed Statement
 3   of Decision will result in the denial or granting of the
 4   motion.
 5    (g) Opposing Papers
 6    Within the deadline prescribed by the Local Rules, a party
 7   opposing a motion shall file: (1) an Opposition; or (2) a
 8   Notice of Non-Opposition.        If a party files a Notice of
 9   Non-Opposition to a motion under Federal Rule of Civil
10   Procedure 12(b), (e), or (f), that party shall state whether
11   it intends to file an amended complaint in accordance with
12   Federal Rule of Civil Procedure 15(a)(1).
13    Failure to timely respond to any motion shall be deemed by
14   the Court as consent to the granting of the motion.               See
15   Local Rules.
16    (h)   Amended Pleadings
17    Whenever a plaintiff files an amended pleading, a redlined
18   version of the amended pleading shall be filed and delivered
19   to Chambers indicating all additions and deletions to the
20   prior version of that pleading.
21    In addition to the requirements of the Local Rules, all
22   motions to amend the pleadings shall: (1) state the effect of
23   the amendment; and (2) state the page, line number(s), and
24   wording of any proposed change or addition of material.
25    In the event the Court grants a motion to dismiss without
26   prejudice to filing an amended complaint, the plaintiff shall
27   file an amended complaint within the time period specified by
28   the Court.     If no time period is specified by the Court, the

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 1   plaintiff shall file an amended complaint within fourteen
 2   calendar days of the date of the order granting the plaintiff
 3   leave to file an amended complaint.           Failure to file an
 4   amended complaint within the time allotted will result in the
 5   dismissal of the action with prejudice.
 6    (i) Motions for Class Certification
 7    Motions for Class Certification shall be filed within 120
 8   days after service of a pleading purporting to commence a
 9   class action (or if applicable 120 days after service of the
10   Notice of Removal), unless otherwise ordered by the Court.
11   Failure to timely file a Motion for Class Certification will
12   result in the striking of the class allegations from the
13   operative pleading.
14   6.   Ex Parte Applications:
15    Ex parte applications are solely for extraordinary relief.
16   See Mission Power Eng'g Co. v. Continental Cas. Co., 883 F.
17   Supp. 488 (C.D. Cal. 1995).         Applications that fail to
18   conform with the Local Rules, including a statement of
19   opposing counsel’s position, will not be considered.                In
20   addition to electronic service, the moving party shall
21   immediately serve the opposing party by fax or hand service
22   and shall notify the opposing party that any opposition must
23   be filed not later than twenty-four hours after the filing of
24   the ex parte application.        If counsel does not intend to
25   oppose the ex parte application, counsel shall immediately
26   inform the Courtroom Deputy by e-mail and immediately file a
27   Notice of Non-Opposition.        The Court considers ex parte
28   applications on the papers and usually does not set the

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 1   matters for hearing.       Courtesy Copies of all moving,
 2   opposition, or non-opposition papers shall be provided to the
 3   Court in accordance with paragraph 3 of this Order.               The
 4   Courtroom Deputy will notify counsel of the Court’s ruling or
 5   a hearing date and time, if the Court determines a hearing is
 6   necessary.
 7   7.     Applications or Stipulations to Extend the Time to File
 8   any Required Document or to Continue Any Date:
 9    No application or stipulation to extend the time to file any
10   required document or to continue any date is effective unless
11   and until the Court approves it.          Any application or
12   stipulation to extend the time to file any required document
13   or to continue any date must set forth the following:
14    (a)    the existing due date or hearing date, as well as all
15   dates set by the Court, including the discovery cut-off date,
16   the Pre-Trial Conference date, and the Trial date;
17    (b) the new dates proposed by the parties;
18    (c) specific, concrete reasons supporting good cause for
19   granting the extension; and
20    (d) whether there have been prior requests for extensions by
21   any party, and whether those requests were granted or denied
22   by the Court.
23    The application or stipulation must be accompanied by a
24   separate proposed order.        The proposed order shall include
25   the existing due date(s) or hearing date(s) as well as the
26   new proposed date(s).
27    Failure to comply with the provisions of this section may
28   result in the denial of the application or stipulation.

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 1   8.     Temporary Restraining Orders and Injunctions:
 2    (a)       Documentation Required:
 3    Parties seeking emergency or provisional relief shall comply
 4   with Fed.R.Civ.P.65 and the Local Rules.            An ex parte
 5   application for a temporary restraining order must be
 6   accompanied by:      (1) a copy of the complaint; (2) a separate
 7   memorandum of points and authorities in support of the
 8   application; (3) the proposed temporary restraining order and
 9   a proposed order to show cause why a preliminary injunction
10   should not issue; and (4) such other documents in support of
11   the application which the party wishes the Court to consider.
12   Courtesy Copies of these documents shall be immediately
13   delivered to Chambers.
14    (b)       Notice of Ex Parte Applications:
15    Unless relieved by order of the Court for good cause shown,
16   on or before the day counsel files an ex parte application
17   for a temporary restraining order, counsel must personally
18   serve notice and all documents in support of the ex parte
19   application and a copy of the Court’s Standing Order on
20   opposing counsel or party.         Counsel shall also notify the
21   opposing party that any opposition must be filed no later
22   than twenty-four hours after the service of the ex parte
23   application.     Counsel shall immediately file a Proof of
24   Service.
25    If counsel does not intend to oppose the ex parte
26   application, counsel shall immediately inform the Courtroom
27   Deputy by e-mail and immediately file a Notice of Non-
28   Opposition.     The Court considers ex parte applications on the

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 1   papers and usually does not set the matter for hearing.
 2   Courtesy Copies of all moving, opposition, or non-opposition
 3   papers shall be provided to the Court in accordance with
 4   paragraph 3 of this Order.         The Courtroom Deputy will notify
 5   counsel of the Court’s ruling or a hearing date and time, if
 6   the Court determines a hearing is necessary.
 7   9.   Proposed Protective Orders and Filings Under Seal:
 8    Protective orders pertaining to discovery must be submitted
 9   to the assigned Magistrate Judge.          Proposed protective orders
10   should not purport to allow, without further order of Court,
11   the filing under seal of pleadings or documents filed in
12   connection with a hearing or trial before the Court.                The
13   existence of a protective order does not alone justify the
14   filing of pleadings or other documents under seal, in whole
15   or in part.
16    An application to file documents under seal must meet the
17   requirements of the Local Rules and shall be limited to three
18   documents by a party, unless otherwise ordered by the Court.
19   The application to file documents under seal should not be
20   filed under seal.      There is a strong presumption of the
21   public’s right of access to judicial proceedings and records
22   in civil cases.      In order to overcome the presumption in
23   favor of access, the movant must demonstrate compelling
24   reasons (as opposed to good cause) for the sealing if the
25   sealing is requested in connection with a dispositive motion
26   or trial, and the relief sought shall be narrowly tailored to
27   serve the specific interest sought to be protected.               Pintos
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 1   v. Pacific Creditors Ass'n, 605 F.3d 665 (9th Cir. 2010),
 2   Kamakana v. City and County of Honolulu, 447 F.3d 1172 (9th
 3   Cir. 2006), Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
 4   1122, 1135 (9th Cir. 2003).
 5    For each document or other type of information sought to be
 6   filed under seal, the party seeking protection must
 7   articulate compelling reasons supported by specific facts or
 8   legal justification that the document or type of information
 9   should be protected.       The facts supporting the application to
10   file documents under seal must be provided by a declaration.
11   The declaration shall attach an unredacted copy of each
12   document to be filed under seal.          The parties are ordered to
13   highlight the portion of the document containing counsel’s
14   proposed redactions.       Documents that are not confidential or
15   privileged in their entirety will not be filed under seal if
16   the confidential portions can be redacted and filed
17   separately.     The declarations in support of the application
18   to file documents under seal shall include an explanation of
19   why redaction is not feasible.
20    If the parties anticipate requesting the Court to file more
21   than three documents under seal in connection with any
22   motion, they shall identify all such documents that will be
23   required to support and oppose the motion during the Local
24   Rule 7-3 conference.       The parties shall then meet and confer
25   in order to determine if the documents satisfy the
26   “compelling need” standard for “sealing” each document.
27   Thereafter, the parties shall file a joint application and
28   lodge a proposed order to file under seal all such documents

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 1   with the required showing as to each document.              The joint
 2   application shall be filed promptly so that the Court may
 3   rule on the application before the filing date for the
 4   motion.    The parties shall not file any pleadings containing
 5   documents they have requested the Court to file under seal
 6   until the Court acts on the application to file under seal.
 7    If a party wishes to file a document that has been
 8   designated confidential by another party, the submitting
 9   party must give any designating party five calendar days
10   notice of intent to file.        If the designating party objects,
11   it should notify the submitting party and file an application
12   to file documents under seal within two court days.
13    If an application to file documents under seal is denied in
14   part or in full, the lodged documents will not be filed.                    The
15   Courtroom Deputy will notify the submitting party, and hold
16   the lodged documents for three court days to allow the
17   submitting party to retrieve the documents.             If the documents
18   are not retrieved, the Courtroom Deputy will dispose of the
19   documents.
20    If the Court grants an application to file documents under
21   seal, the parties shall file within two days of the Court’s
22   Order a complete version of the documents under seal and a
23   redacted version for public viewing (omitting only such
24   portions as the Court has ordered to be filed under seal).
25   The Court’s Courtesy Copies of all documents filed under seal
26   shall include a complete version of the documents with a
27   notation identifying that the document has been filed under
28   seal and shall be highlighted to show the portion of the

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 1   document that has been redacted. Should counsel fail to file
 2   the under seal version and redacted version of the documents,
 3   the Court will strike any motion that relies on or relates to
 4   those documents and/or file those documents in the public
 5   record.
 6   10. Cases Removed From State Court:
 7    All documents filed in state court, including documents
 8   attached to the Complaint, Answer(s), and Motion(s), must be
 9   re-filed in this Court as a separate supplement to the Notice
10   of Removal.     The Courtesy Copies of the supplement must be in
11   a separately bound volume and shall include a Table of
12   Contents.     If the defendant has not yet answered or moved,
13   the Answer or responsive pleading filed in this Court must
14   comply with the Federal Rules of Civil Procedure and the
15   Local Rules of the Central District.           If before the case was
16   removed a motion was pending in state court, it must be re-
17   noticed in accordance with the Local Rules.
18   11. Actions Transferred From Another District
19    Counsel shall file, within ten days of transfer, a Joint
20   Report summarizing the status of the action which shall
21   include a description of all motions filed in the action and
22   the transferor court’s ruling on the motions.              In addition,
23   counsel shall deliver (but not file) one courtesy copy to
24   Chambers of each document on the docket of the transferor
25   court.    On the first page of each courtesy copy, in the space
26   between lines 1 - 7, to the right of the center, counsel
27   shall include the date the document was filed and the
28   document number.      The courtesy copies shall be placed in a

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 1   slant D-ring binder in chronological order with each document
 2   separated by a tab divider on the right side.              All documents
 3   contained in the binder must be three hole punched with the
 4   oversized 13/32" hole size, not the standard 9/32" hole size.
 5   The binder shall include a Table of Contents and the spine of
 6   each binder shall be labeled with its contents.              The courtesy
 7   copies shall be delivered to Chambers within ten days of the
 8   transfer.
 9   12. Status of Fictitiously Named Defendants:
10    This Court adheres to the following procedures when a matter
11   is removed to this Court on diversity grounds with
12   fictitiously named defendants referred to in the Complaint:
13    (a) Plaintiff shall ascertain the identity of and serve any
14   fictitiously named defendants within 90 days of the date that
15   the Complaint was filed in State Court.
16    (b) If plaintiff believes (by reason of the necessity for
17   discovery or otherwise) that fictitiously named defendants
18   cannot be fully identified within the 90-day period, an ex
19   parte application requesting permission to extend the period
20   to effectuate service may be filed with the Court.               Such
21   application shall state the reasons therefore, and will be
22   granted only upon a showing of good cause.             The ex parte
23   application shall be served upon all appearing parties, and
24   shall state that appearing parties may respond within seven
25   calendar days of the filing of the ex parte application.
26    (c) If plaintiff desires to substitute a named defendant for
27   one of the fictitiously named defendants, plaintiff shall
28   first seek the consent of counsel for all defendants (and

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 1   counsel for the fictitiously named party, if that party has
 2   separate counsel). If consent is withheld or denied,
 3   plaintiff shall file an ex parte application requesting such
 4   amendment, with notice to all appearing parties.              Each party
 5   shall have seven calendar days to respond.             The ex parte
 6   application and any response should comment not only on the
 7   substitution of the named party for a fictitiously named
 8   defendant, but on the question of whether the matter should
 9   thereafter be remanded to the Superior Court if diversity of
10   citizenship is destroyed by the addition of the new
11   substituted party.
12   13. Bankruptcy Appeals:
13    Counsel shall comply with the Notice Regarding Appeal From
14   Bankruptcy Court issued at the time the appeal is filed in
15   the District Court.       Counsel are ordered to notify the
16   Court in a joint report if the Certificate of Readiness has
17   not been prepared by the Clerk of the Bankruptcy Court and
18   submitted to the Clerk of the District Court within 90 days
19   of the date of this Order.
20    The matter is considered submitted upon the filing of the
21   final brief.     No oral argument is held unless ordered by the
22   Court.
23   14. Communications with Chambers:
24    Counsel shall not attempt to contact the Court or its
25   Chambers staff by telephone or by any other ex parte means,
26   although counsel may contact the Courtroom Deputy at
27   shannon_reilly@cacd.uscourts.gov with appropriate inquiries
28   after reviewing the Federal Rules of Civil Procedure, the

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 1   Local Rules, and this Court’s Orders.            To facilitate
 2   communication with the Courtroom Deputy, counsel should list
 3   their facsimile transmission numbers and e-mail addresses
 4   along with their telephone numbers on all papers.
 5   15. Notice of This Order:
 6    Counsel for plaintiff shall immediately serve this Order on
 7   all parties, including any new parties to the action.                If
 8   this case came to the Court by noticed removal, defendant
 9   shall serve this Order on all other parties.
10    Caveat:      If counsel fail to cooperate in the preparation of
11   the required Joint Rule 26 Report or fail to file the
12   required Joint Rule 26 Report, or if counsel fail to appear
13   at the Scheduling Conference, the Pre-Trial Conference and/or
14   any other proceeding scheduled by the Court, and such failure
15   is not otherwise satisfactorily explained to the Court: (a)
16   the cause shall stand dismissed for failure to prosecute, if
17   such failure occurs on the part of the plaintiff; (b) default
18   judgment shall be entered if such failure occurs on the part
19   of the defendant; or (c) the Court may take such action as it
20   deems appropriate.
21
22    IT IS SO ORDERED.
23
24   DATED:        September 9, 2021
                                          JOHN F. WALTER
25                                UNITED STATES DISTRICT JUDGE
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